    Case 2:24-cr-00257-CCW             Document 82       Filed 04/22/25      Page 1 of 35



                                                                                     FILED
                                                                                      APR 2 2 2025
                  IN THE UNITED STATES DISTRICT COURT
                                                                         U.S. DISTRICT COURT
               FOR THE WESTERN DISTRICT OF PENNSYLVANIA CLERK
                                                                WEST DIST OF PENNSYLVANIA
                                   )   Crimi nal No.   24-25 7
UNITED STATES OF AMERICA
                                   )
            V.                     )   (18-U.S.C. §§ 371, 247(c), 244(d)(5),
                                   )   100l(a )(2), 2, and 26 U.S.C. § 586l( d))
MOHAMAD HAMAD                      )
TALY A A. LUBIT                    )   [UNDER SEAL]
MICAIAH COLLINS                    )


                               SUPERSEDING INDICTMENT

              The grand jury charges:

                                GENERAL ALLEGATIONS

              At all relevant times:

              A.      Relevant Individuals and Entities
                                                                                         of both
               I.     The defendant, MOHAMAD HAM AD (HAMAD), was a citizen

                                                                 ylvania.
the United States and Lebanon and resided in Coraopolis, Penns
                                                                                      the United
              2.      The defendant, TALY A A. LUBIT (LUBIT), was a citizen of

States and resided in Pittsburgh, Pennsylvania.
                                                                                           of the
               3.     The defendant, MICA IAH COLLINS (COLLINS), was a citizen

United States and resided in Pittsburgh, Pennsylvania.
                                                                                      educational
               4.      Chabad of Squirrel Hill (Chabad) was a center for Jewish

                                                             religious services. It was housed in
 programming with a synagogue for Shabbat and other Jewish
                                                                Pittsburgh, Pennsylvania 15217, at
 religious real property located at 1700 Beechwood Boulevard,

 the comer of Forbes Avenue.
     Case 2:24-cr-00257-CCW             Document 82        Filed 04/22/25         Page 2 of 35




                  B.    Background on Hamas and Hezbollah
                                                                                           , Harakat
                  5.    According to the Office of the Director of National Intelligence
                                                                                       '
                                                                   capable militant group in the
al-Muqawama al-Islamiya (Hamas) is the largest and most
                                                                  political parties.   The group is
Palestinian territories and one of the territories' two major
                                                                  of an Islamic Palestinian state in
committed to armed resistance against Israel and the creation

Israel's place.
                                                                                            Hamas
                  6.    On October 8, 1997, the United States Secretary of State designated
                         '
as a Foreign Terro rist Organ ization (FTO) under Section 219 of the Immigration and Nationality

                                                                   Hamas as a Specially Designated
Act. On October 31, 2001, the Secretary of State also designated
                                                             remains a designated FTO.
Global Terrorist under Executive Order 13224. To date, Hamas
                                                                                              time in
                  7.    On-Saturday, October 7, 2023, at approximately 6:30 a.m. local

                                                                  (the "October 7 Hamas Attack"),
Israel, Hamas committed a violent, large-scale terrorist attack
                                                                    en the Gaza Strip and southern
sending more than 2,000 armed fighters across the border betwe
                                                                ed a wave         of violence focused
Israel. The fighters entered Israeli farms and towns and launch
                                                                    were killed. Others, including
primarily on civilians. Hundreds of civilians, including Americans,
                                                                     the Gaza Strip by the Hamas
Americans, were kidnapped, taken hostage, and brought into
                                                                  inian     militant groups has been
 attackers. An armed conflict between Israel and Hamas-led Palest
                                                                      s Attack.
 taking place in the Gaza Strip and Israel since the October 7 Hama
                                                                                           at least the
                   8.    Following the October 7 Hamas Attack and continuing through
                                                                     of Pittsburgh, including Jewish
 summer of 2024, numerous residents and businesses in the City
                                                                    strated    their support for Israel
 residents and Jewish-owned and affiliated business entities, demon
                                                                  ing the   October 7 Hamas Attack,
 through, among other things, displaying pro-Israel signs. Follow



                                                   2




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     Case 2:24-cr-00257-CCW             Document 82        Filed 04/22/25        Page 3 of 35




                                                                                           ts targeting
there have also been pro-Palestine protests in Pittsburgh, as well as vandalism inciden

residents and businesses for their actual or perceived support of Israel.

               9.      On October 8, 1997, the United States Secretary of State designated
                                                                                    The designation
Hizballah as an FTO under Section 219 of the Immigration and Nationality Act.
                                                                                         Organization,
included the following aliases: Party of God, Islamic Jihad, Islamic Jihad
                                                                                          Jihad for the
Revolutionary Justice Organization, Organization of the Oppressed on Earth, Islamic
                                                                                    Followers of the
Liberation of Palestine, Organization of Right Against Wrong, Ansar Allah, and
                                                                                      designation of
Prophet Muhammad. On May 16, 201 7, the Secretary of State amended the
                                                                                         as Lebanese
Hizballah to include the following aliases: Lebanese Hizballah, also known
                                                                                          and External
Hezbollah, also known as LH; Foreign Relations Department, also known as FRD;
                                                                             also            known as
Security Organization, also known as ESO, also known as Foreign Action Unit,
                                                                                           ons Branch,
Hizballah ESO, a\so known as Hizballah International, also known as Special Operati
                                                                                   y Organization of
also known as External Services Organization, also known as External Securit
                                                                                     '      ted FTO.
Hezbollah. To date, Hizballah, commonly referred to as Hezbollah, remains a designa

                C.      Facts

                        1.      HAMAD Enlisted with the United                  States    Air Force,
                                Pennsylvania Air National Guard.

                10.     In June 2023, HAMAD enlisted with the United States (U.S.) Air Force,
                                                                    ber 2023 through
 Pennsylvania Air National Guard (PAANG). From in and around Septem

 February 2024, HAMAD attended Air Force training in Texas.

                 11.    As a requirement of his enlistment, HAMAD took the following oath: "I,
                                                              will support                          and
 MOHAMAD ABDALLAH HAMAD, do solemnly swear (or affirm) that I
                                                                                           all enemies,
 defend the Constitution of the United States and the State of Pennsylvania against
                                                                                        I will obey the
 foreign and domestic; that I will bear true faith and allegiance to the same; and that
                                                    3
      Case 2:24-cr-00257-CCW            Document 82        Filed 04/22/25      Page 4 of 35




                                                                                                of
orders of the President of the United States and the Governor of Pennsylvania and the orders
                                                          ',,

the officers appointed over me, according to law and regulations, So help me God,"

                 12,    Upon completing training, HAMAD was assigned to the 171st
                                                                                               the
Maintenance Squadron of the PAANG, stationed in Moon Township, Pennsylvania, near
                                                                                       Air
Pittsburgh International Airport The 171st Maintenance Squadron is a part of the 171st
                                                                                            ent of
Refueling Wing, the primary mission of which is to provide in-flight refueling to Departm

Defense (DoD) and North Atlantic Treaty Organization (NATO) aircraft.

                        2.     HAMAD Told Others That, Despite Joining the Air Force, He
                               Was Still More Loyal to Palestine and Lebanon Than the United
                               States.

                 13.    Throughout the fall of 2023, HAMAD discussed his decision to join the
                                                                                            on or
PAANG with certain individuals via direct messages (DMs) on Instagram. For example,
                                                                                                he
about October 25, 2023, HAMAD informed an associate in Ohio (Person 1) that, even though

had joined the PAANG, "[i]t's still Palestine on top though make no mistake."

                 14.    HAMAD also sent Person 1 voice notes on or about October 25, 2023, and
                                                                                               "on
October 28, 2023. 1 In the voice notes, HAMAD reiterated that Palestine and Lebanon were
                                                                                               also
top" for him and that "people will say America, America, but let it lick my ass." HAMAD
                                                                                               and
stated, "don't get me wrong, my dear, Lebanon, Palestine are my country and they are on top,
                                                                                                 to
at the end of the day, fuck off Israel and all her friends." HAMAD explained that it was good
                                                                      '

have the "combat skills" he was learning in training "in case something happens in my country

 [Lebanon] or Palestine."




 1
     Portions of these voice notes were in Arabic and were translated by FBI personnel.
                                                   4
    Case 2:24-cr-00257-CCW            Document 82        Filed 04/22/25      Page 5 of 35




               15.    On or about October 28, 2023, HAMAD also told Person 1 via an Instagram

DM, "I wish I was with the brave hearts in.Palestine right now."

               16.    On or about October 28, 2023, HAMAD messaged another individual,

believed to be in Lebanon (Person 2), on Instagram:

                      a. "I want to learn combat skills too that's why I joined"

                      b. "Also I got an expert marksman badge which means I shot really well"
                                          \
                      c. "I want to be able to protect Lebanon in case something happens."

                      d.   "So I need to learn combat skills now."

               17.   · Person 2 told HAMAD not to worry about Lebanon, but rather to "focus on

your future right now." HAMAD responded:

                      a. "Just like how you protect lebanon, I want to as well bro"

                      b. "Lebanon and Palestine are in my heart."

                      c. "They are number l ."

                      3.      HAMAD Shared Violent Pro-Hamas Videos While He Was
                              Attending Air Force Training.

               18.     While HAMAD was attending Air Force training, he shared violettt pro-
                                                                                 in
Hamas videos. For example, on or about October 31, 2023, HAMAD sent an associate
                                                                                              is
Pittsburgh (Person 3) a series of five violent, militant propaganda videos. One of the videos
                                                                                               shot
dated October 7, 2023, the day of the October 7 Hamas Attack, and shows a man being

repeatedly at point blank range. Another video shows militants holding the flag for Hamas's
                                                                                               tion,
 military wing, the al-Qassam Brigades, while standing on top ofa dead body. In the conversa

 HAMAD wrote, "Yeah Fr but they [Israel] made the mistake of thinking we wouldn' t do anything

 when they kept kiHing us. Us Muslims never surrender or back down."


                                                 5
     Case 2:24-cr-00257-CCW            Document 82         Filed 04/22/25      Page 6 of 35




               19.    On or about November 11, 2023, HAMAD sent Person I two videos. The
                                                                                             (even
first video had text that read, "A new generation is coming," and depicted young children
                                                                                                   .
babies) being shown videos of Abu Obaida, the spokesperson for Hamas's al-Qassam Brigades
                                                                                                 an
The second video contained an Islamic Shahada which translated, in part, to, "What
                                                                                               has
achievement for one who receives a truthful martyrdom. The sins will be erased if the blood
                                                                                                   "
been dripped. And the flowers are scented from the smell of must that is spread from the wounds.

                       4.     HAMAD Began the Background Investigation Process for the
                              Air Force and Was Advised of the Penalties of Lying; He Also
                              Continued to Share Foreign Terrorist Organization
                              Propaganda and Videos.

               20.     On or about December 4, 2023, HAMAD completed the Standard Form 86
                                                                                             ed for
(SF-86), a questionnaire that U.S. government applicants must complete to be consider
                                                                                                   e
national security positions. HAMAD completed the form to obtain a top-secret security clearanc
                                                                                        nd
and as a requirement of his enlistment with the PAANG. The form stated that"[b] ackgrou
                                                                                                   e
investigations for national security positions are conducted to gather information to determin

whether you are reliable, trustworthy, of good conduct and character, and loyal to the U.S."

               21.     The form explained that the background investigation may include
                                                                                                   l
interviews and detailed the penalties for inaccurate or false statements. It warned, "U.S. Crimina
                                                                                                 is a
Code (title 18, section 1001) provides that knowingly falsifying or concealing a material fact

felony which may result in fines and/or up to five (5) years imprisonment."

             · 22.     At the end of the form, HAMAD certified that he understood the penalties

 for inaccurate or false statements, including prosecution under Title 18, Section I 001.

                23.     While his background investigation was pending, HAMAD continued to
                                                                                                       a
 share videos related to FTOs. For example, on or about December 23, 2023, HAMAD posted
                                                                                                           /

                                                  6
      Case 2:24-cr-00257-CCW            Document 82        Filed 04/22/25      Page 7 of 35




video to his Instagram story featuring a man wearing traditional Hamas apparel, with the message

that Gaza will only be “a cemetery for is invaders.” The man shown in the video is Abu Obaida,

the spokesperson for Hamas’s military wing, the al-Qassam Brigades, as pictured in this

screenshot from the video:




               24.     On or about December 28, 2023, HAMAD sent Person 1 a video with the

caption, in Arabic, “Hezbollah announces the targeting of a newly installed point for the Israeli

army near Shomera military base.” The video depicts several men being targeted and then blown

up in an explosion. HAMAD stated, “Lebanon just smoked they ass.”

                       5.      HAMAD Made False Statements During His Background
                               Investigation Interviews on February 1, 2024, and on February
                               6, 2024, About Being Loyal to the United States.

               25.     On or about February 1, 2024, HAMAD was interviewed by a contractor

for the Defense Counterintelligence and Security Agency (DCSA) regarding his suitability for a

security clearance. DCSA is a DoD agency (part of the executive branch) that examines applicants

to ensure they possess the requisite judgement, reliability, and trustworthiness for their positions.

               26.      During the interview, the DCSA contractor warned HAMAD: “under 18

U.S.C. § 1001, it is a crime to knowingly and willfully make materially false or fraudulent
                                                  7
    Case 2:24-cr-00257-CCW             Document 82         Filed 04/22/25     Page 8 of 35




statements or to conceal information in 'any matter within the jurisdiction' of the Federal

Government of the U.S., even by mere denial. Such an act may constitute a felony, which could

result in fines or imprisonment."

               27.    HAMAD confirmed to the DCSA contractor that his "ultimate allegiance

is with the USA" over other nations. HAMAD confirmed this despite telling others on multiple

occasions, as detailed above, that his loyalty was to Palestine and Lebanon over the United States

and despite sharing pro-Hamas and pro-Hezbollah content.

               28.     HAMAD also answered "No" to each of the following questions, which

were read aloud to him by the interviewer:

                       a. "Is there anything that you have said or any activities that you have

                           engaged in which might give someone reason to question your

                           allegiance/loyalty to the United States?"

                       b. "Is there anything you have said or anything you have done which

                           might lead someone to believe that you have loyalty to any other

                           country over that of the United States?"

                       c. "Is there any reason for anyone to question your loyalty to the United

                           States of America?"

                       d. "To the best of your knowledge, are there any records that would tend

                           to contradict anything you have told me today?"

                29.    At a follow-up interview on February 6, 2024, with the DCSA contractor,

. HAMAD was again given the warning regarding 18 U.S.C. § 1001. Again, he confirmed to the

 interviewer that his ultimate allegiance was to the United States.



                                                  8
    Case 2:24-cr-00257-CCW             Document 82         Filed 04/22/25     Page 9 of 35




               30.    Following HAMAD 's interviews, the DCSA continued its background

investigation into HAMAD. During this time, HAMAD continued to work for the PAANG at the

171 st Air Refueling Wing.

               31.     HAMAD also continued to share pro-Hamas content and espouse violence.

For example, on or about February 29, 2024, through March 1, 2024, HAMAD had a conversation

with an individual via Instagram DMs (Person 4) about Hamas. Person 4 told HAMAD that

Hamas had been an FTO since 1997.           HAMAD refuted this, saying, "It's not a terrorist

organization. It's a resistance." Person 4 responded, "Hamas is a terroirs (sp) organization. They

always will be. They are monsters." The conversation concluded with HAMAD repeating, "They

are not a terrorist organization. They are freedom fighters."

               32.     On or about March 13, 2024, HAMAD threatened an unknown individual

on Instagram, stating, "I can't wait until the day Muslims k*ill you. I would be so happy, at this

point I'm done debating. You are better off to the world not breathing."

               33.     On or about April 28, 2024, HAMAD shared a picture of a sweatshirt

appearing to bear the image of Abu Obaida (the spokesperson for Hamas's military wing), an

inverted red triangle, and the arm of a tank with the text, "RESPECT EXISTENCE OR EXPECT

RESISTANCE," on his Instagram story. HAMAD commented on the sweatshirt stating, "Look

what came in the mail today." This sweatshirt was later recovered from HAMAD 's bedroom.




                                                  9
         Case 2:24-cr-00257-CCW       Document 82        Filed 04/22/25     Page 10 of 35




               34.     A spray-painted inverted triangle is a symbol that has been used by

militants affiliated with Hamas in the ongoing Israel-Hamas conflict to designate homes and

buildings as targets for attack.

               35.     On or about June 1, 2024, HAMAD messaged LUBIT via Telegram, “My

ultimate goal in life is shaheed, everything else doesn’t matter nearly as much . . . I don’t see

myself living long. . . . My heart yearns for being with my brothers overseas.” “Shaheed” is an

Arabic word commonly used in Islam to mean “martyr to the Islamic faith” or “martyrdom.” It is

often used to refer to Muslims who died while fulfilling a religious commandment, including

jihad.

               36.     On or about June 6, 2024, HAMAD posted the following image of himself

as a juvenile holding a firearm and stated, “Been toting that K since I was a boy, don’t play with

me,” on his Instagram story.


                                               10
      Case 2:24-cr-00257-CCW            Document 82    Filed 04/22/25     Page 11 of 35




               37.     On this same day, HAMAD sent the above image, as well as another image

of him holding another rifle, to defendant COLLINS via Signal, an encrypted messaging

application. With the photos, HAMAD added, “Been a terrorist since I was a kid in Lebanon, real

shit.” COLLINS replied, “i love it . . . .”

                       6.      HAMAD Built Destructive Devices (and Continued to Share
                               Pro-Hamas Content and Espouse Violence) While Working for
                               the Pennsylvania Air National Guard and Undergoing His
                               Background Investigation; HAMAD Also Conspired with
                               COLLINS to Manufacture and Possess a Destructive Device.

               38.     Throughout the summer of 2024, HAMAD continued to work for the

PAANG. Additionally, DCSA continued his background investigation. HAMAD also began

manufacturing and detonating destructive devices.

               39.     On or about June 10, 2024, HAMAD made two online purchases of

chemical substances—Indian black aluminum powder and potassium perchlorate KCIO4.

                                              11
    Case 2:24-cr-00257-CCW            Document 82         Filed 04/22/25     Page 12 of 35




              40.   ,Potassium perchlorate KCIO4 is a colorless, crystalline (sand-like) solid

that is a common oxidizer used in explosives. Potassium perchlorate KCIO4 transfers oxygen to
'     '
combustible materials, such as Indian black alumi11um powder, greatly increasing their rate of

combustion. The mixture of these two substances is a way to create flash powder, a common

compound used in explosives.

              41.     On or about June 18, 2024, HAMAD sent COLLINS a message via Signal,

stating, "Some shit came in the mail today. Can't wait to have some fun with you."

              42.     On or about June 26, 2024, HAMAD purchased four cans of Black Quick

Color Gloss All Purpose Enamel Spray Paint from Walmart.

              43.     On or about June 26, 2024, HAMAD purchased red M80-style shell tubes

and paper plugs from Amazon, commonly used in manufacturing explosives.

              44.     On or about June 27, 2024, HAMAD posted an image of himself with a

rifle on his Instagram story. Another associate ofHAMAD's in Pittsburgh (Person 5) messaged

HAMAD telling him that he was so cool. HAMAD responded, "Terrorist mode engaged." Person

5 responded, "Hell! yeaaahhhhh! !!!! ! Threat to US government confirmed."

              45.     On or about June 29, 2024, HAMAD messaged COLLINS that the "big

shells came in." HAMAD also messaged COLLINS (among other messages):

                      a. "I made that big shell."

                      b. "It's way bigger than I expected."

                      c. "I'm actually scared of it a bit."

                      d. "But I want to light it."




                                                12
      Case 2:24-cr-00257-CCW           Document 82        Filed 04/22/25    Page 13 of 35




               46.     COLLINS expressed excitement about lighting the device, stating, “cuz

wen we do the THING.. w the THING oh yeaaaaa its OVERRRR” and “bros ankles GONE!!!”

COLLINS also suggested inviting defendant LUBIT to join them in lighting the device. HAMAD

responded, “I kinda just wanna test it with you as I’ve never done something that big lol and then

another day very soon we can do bros ankles with [LUBIT]. While at the same time seeing if

what I made is gonna be viable and work.”

               47.     Directly following the above conversation, HAMAD sent COLLINS a

video of the detonation of a destructive device. The device, made by an unknown individual,

appears to consist of a metal pipe bomb, a length of hobby fuse, and five metal fuel canisters,

secured in place with black tape, as pictured in this screen shot:




               48.     COLLINS responded, “thas wat we gotta do!!! that bigass mf n fuck 4 we

doin 5!!!” HAMAD responded, “HELL YEAH.”

               49.     On or about June 30, 2024, COLLINS and HAMAD had the following

exchange:

                       a. COLLINS: “you think . . . w that new crazy shells n 4-5 cans we can

                           rlly take bros ankles…concrete gon blow?”

                       b. HAMAD: “Maybe.”


                                                 13
    Case 2:24-cr-00257-CCW             Document 82       Filed 04/22/25       Page 14 of 35




                       c. COLLINS: "we gon test the big boys w like 2-3 ... n see ... ?"

                       d. HAMAD: "We are gonna have to test it first and see how it holds up.

                          Maybe so."

                       e. COLLINS: "gotta see what she hittin for ... we gon fuck shit up ...."

               50.     On or about July 1, 2024, HAMAD purchased more M80-style shell tubes

and paper plugs from Amazon.

               51.     On or about the night of July I, 2024, COLLINS and HAMAD had

scheduled to meet.     COLLINS cancelled because her other plans ran late.         HAMAD told

COLLINS, "No worries, we can always do it another time soon, th~ big ones are here waiting for

you."
                                                                     (

               52.    ,On or about July 2, 2024, COLLINS messaged HAMAD, "i can't wait i

wana learn how to make em! n can't wait to set em off too! i been thinkin abt wft we gon use em

for like allll day every dayyyy."

               53.     On or about July 3, 2024, HAMAD purchased three additional cans of

Black Quick Color Gloss All Purpose Enamel Spray Paint from Walmart.

               54.     On or about July 4, 2024, HAMAD messaged COLLINS saying, "I want

to die fighting. I want it now so bad!! I don't want to be here anymore." COLLINS responded

saying, "if I can see tn we can do something in our little space weve created yk." HAMAD

responded that he was "feeling a lot of anger."

               55.     On or about this same day, HAMAD shared a video of an apparent Hamas

funeral on his Instagram story (screenshot below). HAMAD wrote, "Ya Allah, I can't take this

anymore, I want to fight and die. I don't want to live here anymore. I'm jealous of these fighters,

they got to fight in the way of Allah and have achieved the highest level of Jannah."

                                                  14
     Case 2:24-cr-00257-CCW           Document 82       Filed 04/22/25     Page 15 of 35




               56.    On or about July 5, 2024, HAMAD messaged an associate in East

Liverpool, Ohio (Person 6) stating, “To be clear I want to go over there in Palestine. And help.

Fight.” Person 6 asked HAMAD, “how would that conflict with your military obligations? . . . I

just don’t want to see you in trouble or under investigation you know what I mean?” HAMAD

responded, “I understand. I’ll delete my chats.”

               57.    On or about July 6, 2024, HAMAD posted the following image of a firearm

on his Instagram story. On top of the image, HAMAD added the text, “Alright yall say a prayer

with me. Inshallah one day each bullet in this mag kisses the foreheads of the Zionist oppressor,

ameen.”




                                               15
     Case 2:24-cr-00257-CCW        Document 82       Filed 04/22/25    Page 16 of 35




              58.    On or about July 6, 2024, HAMAD shared the following image of an

apparent Hamas fighter with a green headband on his Instagram story. The caption reads, “So

you’re saying Hamas are the good guys. Yes.”




                                               16
     Case 2:24-cr-00257-CCW           Document 82       Filed 04/22/25      Page 17 of 35




              59.     On or about July 6, 2024, HAMAD finalized his plans with COLLINS to

detonate a destructive device. On this date, HAMAD picked COLLINS up from her residence at

approximately 10:45 p.m. Text messages between HAMAD and COLLINS show that COLLINS

was home by approximately 1:18 a.m. on July 7, 2024.

              60.     At or around 6:40 p.m. on July 7, 2024, COLLINS messaged HAMAD, “I

keep watchin the video!” HAMAD immediately responded, “Hell yeah. That shit was a blast.”

At approximately 6:41 p.m., COLLINS sent a video of an explosion, to which HAMAD

responded, “Hell yeah.” Screenshots from the video are below:




              61.     On or about July 11, 2024, HAMAD purchased three iron cap fittings from

Home Depot. Such fittings can be used to manufacture destructive devices.

              62.     On or about July 12, 2024, HAMAD sent the following photograph of

himself wearing a Hamas-style headband and sweatshirt to an associate in Pittsburgh (Person 7).

HAMAD called himself a “Hamas operative, ” referred to “ripping off” flags related to Israel from

“white suburbia,” and joked about the “terror” the residents must have felt if they had security

cameras and saw him dressed that way while stealing their flags.



                                               17
      Case 2:24-cr-00257-CCW           Document 82       Filed 04/22/25      Page 18 of 35




               63.     On or about July 14, 2024, HAMAD purchased three 20-foot safety fuses

from Phantom Fireworks. The fuses were later recovered from HAMAD’s residence with a

portion missing. Such fuses can be used to manufacture destructive devices.

               64.     On or about July 18, 2024, HAMAD drove from Pittsburgh, Pennsylvania,

to State College, Pennsylvania. HAMAD brought with him in his trunk three destructive devices:

two pipe bombs and one device made with a red M80-style shell tube, a length of green hobby

fuse, and two metal spray paint cans, secured together with clear tape. The items used to construct

the devices are consistent with items purchased by HAMAD (shells, cans, fuses, iron cap fittings,

etc.), and the third device is similar to the destructive device that HAMAD and COLLINS

conspired to make, as detailed above. HAMAD possessed these devices in Pittsburgh prior to

driving to State College.

               65.     On or about July 18, 2024, HAMAD and an associate in State College

(Person 8) drove to Rothrock State Park and detonated the devices shortly after midnight on or

about July 19, 2024. Fragments from the destructive devices were recovered at the park. One of
                                                18
     Case 2:24-cr-00257-CCW          Document 82       Filed 04/22/25     Page 19 of 35




the destructive devices manufactured and detonated by HAMAD on or about July 19, 2024, is

pictured below:




              66.     In the video of the detonation of this destructive device, HAMAD can be

heard acknowledging that the device would create “metal shrapnel.”

              67.     The other two destructive devices manufactured and detonated by HAMAD

on or about July 19, 2024, were pipe bombs, one of which is pictured below:




              68.     On or about July 23, 2024, HAMAD posted a collage of prominent Hamas

leaders to his Instagram story and stated, “Without these men our resistance would be 100 years

behind.”
                                              19
      Case 2:24-cr-00257-CCW           Document 82           Filed 04/22/25   Page 20 of 35




               69.     On or about July 24, 2024, HAMAD posted a collage of pictures in tribute

to Nour Al Din Barakah, a deceased al-Qassam Brigades leader, to his Instagram story. The

collage included the caption, “M@rtyr Nour Al Din Barakah. The man who discovered the

infiltration. Without him 10.7 would’ve been impossible. Glory to the m@rtyrs.”

                       7.     HAMAD Defaced Jewish Religious Real Property with LUBIT
                              While Working for the Pennsylvania Air National Guard and
                              Undergoing His Background Investigation.

               70.     On or about July 27, 2024, HAMAD, wearing a Hamas-style headband,

drove past the front of the Chabad to survey the target location and recorded the drive-by on a

cellular telephone. A still photo taken from that video is shown below:




               71.     On or about July 27, 2024, from at or around 9:25 p.m. to at or around 11:20

p.m., HAMAD and LUBIT, using Signal, discussed vandalizing and painting graffiti on “Jewish

institutions.” During the conversation, LUBIT agreed to “Decorating Chabad” and stated, “I can

literally feel myself starting to see Jews as my enemies.”




                                                20
      Case 2:24-cr-00257-CCW           Document 82        Filed 04/22/25      Page 21 of 35




               72.     On or about July 28, 2024, HAMAD purchased one can of Rust-Oleum

high-gloss red spray paint, in the color “Strawberry Fields,” at Walmart.

               73.     On or about July 29, 2024, at or around 1:46 a.m., HAMAD and LUBIT

arrived at the front of the Chabad in HAMAD’s vehicle.

               74.     On or about July 29, 2024, at or around 1:46 a.m., LUBIT, with her face

covered, exited HAMAD’s vehicle and spray-painted in red the words, “Jews 4 Palestine” and an

inverted triangle on the front exterior wall of the Chabad’s religious real property.

               75.     On the morning of July 29, 2024, Chabad reported to the Pittsburgh Bureau

of Police (PBP) that an exterior wall of its religious real property had been defaced with graffiti.

Specifically, the words “Jews 4 Palestine” with a red inverted triangle were spray-painted onto the

exterior of the building. As noted above, a spray-painted inverted triangle is a symbol that has

been used by Hamas to designate buildings as targets for attack. As depicted below, the graffiti

was painted directly below a sign reading “Chabad of Squirrel Hill” and a few feet away from a

large menorah, a Jewish religious symbol, which was implanted in the nearby grass.




               76.     Also, on or about July 29, 2024, the Jewish Federation—a non-profit

organization with the charitable purposes of serving as the central fundraising, community
                                                 21
      Case 2:24-cr-00257-CCW            Document 82        Filed 04/22/25   Page 22 of 35




relations, budgeting, and community planning arm of the Jewish community of Greater

Pittsburgh—reported to PBP that an exterior entrance sign had been defaced with graffiti. On the

Federation’s exterior sign, a red arrow was spray-painted pointing from the words “Jewish

Federation” to a message, also in red spray paint, with the words, “Funds Genocide Jews, Hate

Zionists” and a red heart (depicted below).




                       8.      HAMAD Again Made False Statements at His Background
                               Investigation Interview on September 10, 2024, About Being
                               Loyal to the United States.

               77.     On or about September 10, 2024, HAMAD was interviewed again

regarding his suitability for a security clearance. This time, he was interviewed by a DCSA

Special Agent. At the beginning of the interview, the interviewer warned HAMAD: “Title 18

U.S. Code Section 1001 applies to this interview, which provides that knowingly falsifying or

concealing a material fact is a felony which may result in fines or imprisonment.”

               78.     During the interview, as he had done in February 2024, HAMAD confirmed

his allegiance was “100%” to the United States. He stated that he lived here in the United States,

that his life was here, and that he planned to die here.



                                                 22
    Case 2:24-cr-00257-CCW                Document 82     Filed 04/22/25       Page 23 of 35




                                            COUNT ONE

               The grand jury charges:

                79.    The allegations set forth in paragraphs I through 78 are incorporated by

reference as if realleged fully herein.

                                  The Conspiracy and Its Object

               80.     From in and around July 2024, through on or about July 29, 2024, in the

Western District of Pennsylvania, defendants HAMAD and LUBIT did knowingly and willfully

combine, conspire, confederate, and agree with each other, to commit an offense against the

United States, that is: to knowingly and intentionally deface, damage, and destroy religious real

property, or attempt to do so, because of the race and ethnic characteristics of any individual
                                                               '
associated with that religious real property, in violation of Title 18, United States Code, Section

247(c).

                                          Manner and Means

               81.     It was a manner and means of the conspiracy that defendants HAMAD and

LUBIT used an encrypted messaging application to discuss and plan a coordinated effort to deface,

damage, and destroy Jewish owned or associated real properties.

               82.     It was a further manner and means of the conspiracy that defendants

HAMAD and LUBIT agreed to deface, damage, and destroy the real property owned and used by

the Chabad.

               83.     It was a further manner and means of the conspiracy that defendants

HAMAD and LUBIT agreed to deface, damage, and destroy the real property owned and used by

the Chabad by spray painting pro-Palestinian messaging on the front wall of the building, that is,

"Jews 4 Palestine" with an inverted red triangle.

                                                 23
    Case 2:24-cr-00257-CCW             Document 82            Filed 04/22/25   Page 24 of 35




               84.     It was a further manner and means of the conspiracy that defendants

HAMAD and LUBIT vandalized the real property owned and used by the Chabad in the early

morning hours of July 29, 2024, when it was dark and quiet.

               85.     It was a further manner and means of the conspiracy that defendant

HAMAD placed his cellular telephone in "airplane mode" while he and defendant LUBIT traveled
                                                                                           ''
to and from the Chabad, masking his whereabouts while engaged in defacing, damaging, and

destroying the Chabad.

                                            Overt Acts

               86.     In furtherance of the conspiracy, and to accomplish its object and purpose,

defendants HAMAD and LUBIT committed and caused to be committed, in the Western District

of Pennsylvania, at least one of the following overt acts, among others:

                       a. HAMAD, using the Google Maps application on his cellular telephone

searched for the following locations: "Chabad," Chabad of Squirrel Hill," "Chabad Young

Professionals Pittsburgh," Chabad Young," "Chabad Lubavitch of Western Pennsylvania," and

"245 Melwood Avenue," defendant LUBIT's address.

                       b. On or about July 27, 2024, at or around 7:03 p.m., HAMAD, wearing a ·

headband and face covering indicative of a Barnas operative, drove past the front of the Chabad

to survey the target location and recorded the drive-by on a cellular telephone.

                       c. On or about July 27, 2024, from at or around 9:25 p.m. to at or around

11 :20 p.m., HAMAD a~d LUBIT, using the Signal encrypted messaging application, discussed

vandalizing and painting graffiti on "Jewish institutions."

                       d. On or about July 27, 2024, at or around 7:27 p.m., during the Signal

conversation with defendant HAMAD, LUBIT agreed to "Decorating Chabad."

                                                24
    Case 2:24-cr-00257-CCW             Document 82         Filed 04/22/25       Page 25 of 35




                       e. On or about July 27, 2024, at or around 11 :08 p.m., during the Signal

conversation with HAMAD, LUBIT stated, "I can literally feel myself starting to see Jews as my

enemies."

                       f.   On or about July 28, 2024, HAMAD purchased one can ofRust-Oleum

high-gloss, red spray paint, in the color "Strawberry Fields," at Walmart.

                       g. On or about July 29, 2024, at or around I :46 a.m., HAMAD and LUBIT
                                           )

arrived at the front of the Chabad in HAMAD's vehicle.

                       h. On or about July 29, 2024, at or around I :46 a.m., LUBIT, with her face

covered, exited HAMAD's vehicle and spray-painted in red the words, "Jews 4 Palestine" and an

inverted triangle on the front exterior wall of the Chabad's religious real property.

               In violation of Title 18, United States Code, Section 371.




                                                 25
    Case 2:24-cr-00257-CCW                Document 82      Filed 04/22/25      Page 26 of 35




                                            COUNT TWO

               The grand jury further charges:

                87.    The allegations set forth in paragraphs 1 through 78 are incorporated by

reference as if realleged fully herein.

                88.    On or about July 29, 2024, in the Western District of Pennsylvania,

defendants HAMAD and LUBIT did intentionally deface, damage, and destroy religious real

property, that is, the Chabad of Squirrel Hill because of the race and ethnic characteristics of any

individual associated with that religious real property.

               In violation of Title 18, United States Code, Sections 247(c), 247(d)(5), and 2.




                                                 26
    Case 2:24-cr-00257-CCW                Document 82      Filed 04/22/25       Page 27 of 35




                                           COUNT THREE

                 The grand jury further charges:

                 89.    The allegations set forth in paragraphs 1 through 78 are incorporated by

reference as if realleged fully herein.

                 90.    On or about February 1, 2024, in the Western District of Pennsylvania, the

defendant, HAMAD, in a matter within the jurisdiction of the executive branch of the Government

of the United States, did knowingly and willfully make a materially false, fictitious, and fraudulent

statement and representation to a DCSA contractor, that is, HAMAD:

                        a. Stated and represented that his ultimate allegiance was to the U.S. over

other nations.

                        b. Answered ''No" to the question, "Is there anything that you have said

or any activities, that you have engaged in which might give someone reason to question your

allegiance/loyalty to the United States?"

                        c. Answered ''No" to the question, "Is there anything you have said or

anything you have done which might lead someone to believe that you have loyalty to any other

country over that of the United States?"

                        d. Answered "No" to the question, "Is there any reason for anyone to

question your loyalty to the United States of America?"

                        e. Answered ''No" to the question, "To the best of your knowledge, are

there any records that would tend to contradict anything you have told me today?"

                 91.    Whereas, in truth and fact, as the defendant, HAMAD, well knew:

                        a. HAMAD's loyalty and allegiance was not to the U.S. over other

nations;

                                                   27
    Case 2:24-cr-00257-CCW            Document 82        Filed 04/22/25      Page 28 of 35




                      b. HAMAD had said and done things that would cause someone to

question his loyalty to the U.S. and would lead them to believe he had loyalty to Palestine and

Lebanon over the U.S. (for example, HAMAD told others that Lebanon and Palestine were "on

top" and "number I" for him and that he only joined the U.S. military to learn combat skills to

protect Lebanon and Palestine; said "fuck off Israel and all her friends;" said, "let America lick

my ass;" and shared pro-Hamas and pro-Hezbollah content and propaganda); and

                      c. There were records, including from Instagram and other sources, that

would contradict what HAMAD told the DCSA contractor.

               In violation ofTitle 18, United States Code, Section IO0l(a)(2).




                                               28
    Case 2:24-cr-00257-CCW                Document 82      Filed 04/22/25       Page 29 of 35




                                           COUNT FOUR

               The grand jury further charges:

                92.    The allegations set forth in paragraphs I through 78 are incorporated by

reference as if realleged fully herein.

               93.     On or about February 6, 2024, in the Western District of Pennsylvania, the

defendant, HAMAD, in a matter within the jurisdiction of the executive branch of the Government

of the United States, did knowingly and willfully make a materially false, fictitious, and fraudulent

statement and representation to a DCSA contractor, that is, HAMAD stated and represented that

HAMAD's ultimate allegiance was to the United States over other nations, whereas, in truth and

fact, as HAMAD well knew, his ultimate allegiance was not to the United States over other

nations.

               In violation of Title 18, United States Code, Section 100l(a)(2).




                                                 29
     Case 2:24-cr-00257-CCW                 Document 82     Filed 04/22/25      Page 30 of 35




                                              COUNT FIVE

                 The grand jury further charges:

                 94.     The- allegations set forth in paragraphs 1 through 78 are incorporated by

 reference as if realleged· fully herein.

                 95.     On or about September 10,,2024, in the Western District of Pennsylvania,

 the defendant, HAMAD, in a matter within the jurisdiction of the executive branch of the

 Government of the United States, did knowingly and willfully make a materially false, fictitious,

 and fraudulent statement and representation to a DCSA Special Agent, that is, HAMAD stated

 and represented that HAMAD's loyalty was 100% to the United States, whereas, in truth and fact,

 as HAMAD well knew, his loyalty was not I 00% to the United States.

                 96.     Rather, as of September 10, 2024, HAMAD had said and done many things

 that showed that his loyalty was not I 00% to the United States, such as: HAMAD told others that

Lebanon and Palestine were "on top" and "number I" for him and that he only joined the U.S.

military to learn combat skills to protect Lebanon and Palestine; stated "fuck off Israel and all her

friends;" stated "let America lick my ass;" shared pro-Hamas and pro-Hezbqllah content and

propaganda; threatened Zionists; wore Hamas clothing and referred to himself as a Hamas

, operative and a terrorist; stated his desire to go overseas and fight and die for Palestine;

manufactured, possessed, transported, and detonated destructive devices; and defaced Jewish

religious real property with pro-Palestine and anti-Zionist graffiti.

                In violation of Title 18, United States Code, Section 100l(a)(2).




                                                   30
      Case 2:24-cr-00257-CCW              Document 82     Filed 04/22/25       Page 31 of 35




                                             COUNT SIX

                The grand jury further charges:

                97.    The allegations set forth in paragraphs 1 through 78 are incorporated by

reference as if realleged fully herein.

                                  The Conspiracy and Its Object

               98.     Froni in and around June 2024, and continuing thereafter to in and around

July 2024, in the Western District of Pennsylvania, defendants MOHAMAD HAMAD and

MlCAIAH COLLINS knowingly conspired, confederated, and agreed together and with each

other, to:

                       a. knowingly and unlawfully make a firearm, as defined in Title 26, United

States Code, Section 5845(a)(8), to wit: a destructive device, as defined in Title 26, United States

Code, s,ection 5845(£), further described as an explosive device made of an ignition source and

surrounded by metal spray paint cans, in violation of Title 26, United States Code, Section 5861(£);

and

                       b. knowingly and unlawfully possess a firearm, as defined in Title 26,

United States Code, Section 5845(a)(8), to wit: a destructive device, as defined in Title 26, United

States Code, Section 5845(£), further described as an explosive device made of an ignition source

and surrounded by metal' spray paint cans, which was not registered to HAMAD or COLLINS in

the National Firearms Registration and Transfer Record, in violation of Title 26, United States

Code, Section 586l(d).

                                          Manner and Means

               99.     It was a manner and means of the conspiracy that HAMAD and COLLINS

agreed to manufacture, possess, and detonate a destructive device.

                                                  31
    Case 2:24-cr-00257-CCW             Document 82         Filed 04/22/25       Page 32 of 35




                100.   It was a further manner and means of the conspiracy that HAMAD and

COLLINS planned the manufacture, possession, and detonation of the destructive device in

messages with each other, including, among other things, sharing an inspiration video, discussing

specifications of how the device would be made, sharing their excitement about their plans,

encouraging each other, and planning a time to meet to test if the device manufactured was

"viable."

               101.    It was a further manner and means of the conspiracy that HAMAD told

COLLINS that he would wait for her to use the big shells he had made.

               102.    It was a further manner and means of the conspiracy that COLLINS

discussed the potential uses for the devices that she and HAMAD were testing, including hurting

people by blowing up their ankles ("we can rlly take bros ankles"; "concrete gon blow"; "gotta

see what she hittin for"; "i been thinkin abt wft we gon use em for like allll day every dayyyy").

               103.    It was a further manner and means of the conspiracy that, when HAMAD

expressed his desire to die fighting overseas, COLLINS told him that instead they could do

something in the "little space" that they had created here in Pittsburgh.

               104.    It was a further manner and means of the conspiracy that HAMAD and

COLLINS agreed to meet at night to test the device, when it was dark.

               105.    It was a further manner and means of the conspiracy that neither HAMAD

nor COLLINS sought approval to manufacture a destructive device or registered a destructive

device in the National Firearms Registration and Transfer Record.

                                       Acts In Furtherance

               106.    In furtherance of the conspiracy, and to affect the objects of the conspiracy,

HAMAD and COLLINS committed and caused to be committed, in the Western District of

                                                 32
    Case 2:24-cr-00257-CCW            Document 82        Filed 04/22/25     Page 33 of 35




Pennsylvania and elsewhere, at least one of the following overt acts, among others:

                      a.      As explained above in the General Allegations, in and around June

and July 2024, HAMAD purchased Indian black aluminum powder; potassium perchlorate

KCIO4; shell tubes; spray paint cans; and other materials for the manufacture of the destructive

device.

                      b.      From on or about June 29, 2024, through on or about June 30, 2024,

HAMAD sent COLLINS a video of the inspiration for the destructive device. - HAMAD and
      I
COLLINS then planned the design of their device, with COLLINS suggesting that they use shells

and 4 to 5 cans. ·

                      c.      On or about July 6, 2024, HAMAD and COLLINS detonated a

device, and COLLINS filmed it.

               In violation ofTitle 18, United States Code, Section 371.




                                               33
    Case 2:24-cr-00257-CCW                Document 82     Filed 04/22/25        Page 34 of 35




                              COUNTS SEVEN THROUGH NINE

                The grand jury further charges:

                107.   The allegations set forth in paragraphs 1 through 78 are incorporated by

reference as if realleged fully herein.

                108.   On or about July 18, 2024, in the Western District of Pennsylvania and

elsewhere, the defendant, HAMAD, did knowingly and unlawfully possess a firearm, as defined

in Title 26, United States Code, Section 5845(a)(8), which was not registered to him in the

National Firearms Registration and .Transfer Record, specifically the following destructive

devices:
                                                                    -
                       a.      An improvised explosive device, commonly referred to as a pipe

bomb (Count Seven);

                       b.      An improvised explosive device, commonly referred to as a pipe

bomb (Count Eight); and

                       d.      An explosive device made up of a red M80-style shell tube, a length

of green hobby fuse, and two metal spray paint cans, secured in place with clear tape (Count

Nine).

               In violation of Title 26, United States Code, Section 586l(d).




                                                  34
     Case 2:24-cr-00257-CCW            Document 82         Filed 04/22/25      Page 35 of 35




                                FORFEITURE ALLEGATIONS

               I 09.   The United States hereby gives notice to the defendants charged in Counts

Six through Nine that, upon their conviction of any such offenses, the government will seek

forfeiture in accordance with Title 26, United States Code, Section 5872, which requires any

person convicted of such an offenses to forfeit to the United States of America any and all firearms

involved in the offenses.

                                                      A True Bill,




                                                     FOREPERSON



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